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   8                         UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
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 11 JILL DACOSTA,                                       Case No. 8:20-cv-02120 JLS (ADSx)
 12                 Plaintiff,
 13          vs.
                                                        ORDER DISMISSING CASE
 14 METROPOLITAN LIFE INSURANCE                         WITH PREJUDICE
    COMPANY,
 15
            Defendant.
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             Pursuant to the stipulation of the parties under Federal Rule of Civil Procedure
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       41(a)(1)(A)(ii), this entire action, including all claims stated herein against Defendant,
 21
       is hereby dismissed with prejudice.
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       DATED: November 12, 2021
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                                         _________________________________________
 25                                      HON. JOSEPHINE L. STATON
                                         UNITED STATES DISTRICT JUDGE
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